_ Case 7:19-mj-01009-UA Document 28 Filed 05/30/19 Page 1of1

. COMPLAINT/REMOVAL DISMISSAL ; .
eon te « - - United States District Court so of co a o
Southern District: of New York cam. - to

Mag. Judge Dkt. No. a mar {CDG . Date S/2Z}14
USAO No. Lol as ROCMR &

The Govemment respectfully requests the Court to dismiss without prejudice the VV: _ * Complaint Removal
Proceedings in .

United States v. Se coe \i WoL loalloy pc lea Sdn @ loallar

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The Complaint/Rule 40 Affidavit was filed on __ 1/3 \]144

 

(Print name)

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